     Case 2:19-cv-00592-RAH-SMD Document 15 Filed 10/01/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

PETER J. SMITH,                                  )
                                                 )
      Plaintiff,                                 )
                                                 )
      v.                                         ) CASE NO. 2:19-cv-592-RAH
                                                 )
SUBWAY INC., et al.,                             )
                                                 )
      Defendants.                                )

                                         ORDER

      On August 28, 2020, the Magistrate Judge entered a Recommendation, (Doc. 10),

to dismiss this case prior to service of process. There being no timely objections filed to

the Recommendation, and based on an independent review of the record, it is

      ORDERED:

      1. The Recommendation of the Magistrate Judge is ADOPTED. (Doc. 10.)

      2. This case is DISMISSED in accordance with the directives of 28 U.S.C. §

           1915(e)(2)(B)(i) and (ii).

      A separate Final Judgment will be entered in accordance with this order.

      DONE, this 1st day of October, 2020.


                                           /s/ R. Austin Huffaker, Jr.
                                    R. AUSTIN HUFFAKER, JR.
                                    UNITED STATES DISTRICT JUDGE
